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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

CHARLES JAMES ATCITTY,

              Plaintiff,

v.                                                     No. 1:20-cv-0515 DHU/DLM

THE UNITED STATES OF AMERICA,

              Defendants.

                           ORDER SETTING STATUS CONFERENCE

       THIS MATTER comes before the Court sua sponte. The Court will conduct a telephonic

Status Conference on Thursday, April 13, 2023, at 10:30a.m. MDT to discuss setting a

settlement conference. Counsel shall call 877-336-1831 and enter access code 2038522 to be

connected to the conference.

       IT IS SO ORDERED.




                                         _______________________________________
                                         DAMIAN L. MARTINEZ
                                         U.S. MAGISTRATE JUDGE
